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       UNITED STATES COURT OF APPEALS FOR THE THIRD CIRCUIT


             No. 25-1555                                   No. 25-1562
Atlas Data Privacy Corporation et al. v.      Atlas Data Privacy Corporation et al. v.
           We Inform, LLC                          Digital Safety Products, LLC
      (D.N.J. No. 1:24-cv-04037)                    (D.N.J. No. 1:24-cv-04141)

             No. 25-1556                                   No. 25-1563
Atlas Data Privacy Corporation et al. v.      Atlas Data Privacy Corporation et al. v.
           Infomatics, LLC                           Civil Data Research, LLC
      (D.N.J. No. 1:24-cv-04041)                    (D.N.J. No. 1:24-cv-04143)

             No. 25-1557                                   No. 25-1564
Atlas Data Privacy Corporation et al. v.      Atlas Data Privacy Corporation et al. v.
      The People Searchers, LLC               Scalable Commerce, LLC, and National
      (D.N.J. No. 1:24-cv-04045)                       Data Analytics, LLC
                                                    (D.N.J. No. 1:24-cv-04160)
             No. 25-1558
Atlas Data Privacy Corporation et al. v.                   No. 25-1565
           DM Group, Inc.                     Atlas Data Privacy Corporation et al. v.
      (D.N.J. No. 1:24-cv-04075)                       Labels & Lists, Inc.
                                                    (D.N.J. No. 1:24-cv-04174)
             No. 25-1559
Atlas Data Privacy Corporation et al. v.                   No. 25-1566
         Deluxe Corporation                   Atlas Data Privacy Corporation et al. v.
      (D.N.J. No. 1:24-cv-04080)                    Innovis Data Solutions, Inc.
                                                    (D.N.J. No. 1:24-cv-04176)
             No. 25-1560
Atlas Data Privacy Corporation et al. v.                   No. 25-1567
    Quantarium Alliance, LLC, and             Atlas Data Privacy Corporation et al. v.
       Quantarium Group, LLC                          Accurate Append, Inc.
      (D.N.J. No. 1:24-cv-04098)                    (D.N.J. No. 1:24-cv-04178)

             No. 25-1561                                   No. 25-1568
Atlas Data Privacy Corporation et al. v.      Atlas Data Privacy Corporation et al. v.
          Yardi Systems, Inc.                  Zillow, Inc., and Zillow Group, Inc.
      (D.N.J. No. 1:24-cv-04103)                    (D.N.J. No. 1:24-cv-04256)
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              No. 25-1569                                   No. 25-1575
Atlas Data Privacy Corporation et al. v.       Atlas Data Privacy Corporation et al. v.
            Equimine, Inc.                                  AccuZIP, Inc.
      (D.N.J. No. 1:24-cv-04261)                     (D.N.J. No. 1:24-cv-04383)

              No. 25-1570                                   No. 25-1576
 Atlas Data Privacy Corporation et al. v.      Atlas Data Privacy Corporation et al. v.
Thomson Reuters Corporation, Thomson               Synaptix Technology, LLC, and
Reuters Holdings Inc., Thomson Reuters                   Voterrecords.com
   Canada Limited, Thomson Reuters                   (D.N.J. No. 1:24-cv-04385)
  Applications Inc., Thomson Reuters
  Enterprise Centre GmbH, and West                          No. 25-1577
         Publishing Corporation                Atlas Data Privacy Corporation et al. v.
       (D.N.J. No. 1:24-cv-04269)                  Joy Rockwell Enterprises, Inc.
              No. 25-1571                            (D.N.J. No. 1:24-cv-04389)

Atlas Data Privacy Corporation et al. v.                    No. 25-1578
          Melissa Data Corp.                   Atlas Data Privacy Corporation et al. v.
      (D.N.J. No. 1:24-cv-04292)                       Fortnoff Financial, LLC
              No. 25-1572                            (D.N.J. No. 1:24-cv-04390)

Atlas Data Privacy Corporation et al. v.                    No. 25-1580
   Restoration of America and Voter            Atlas Data Privacy Corporation et al. v.
      Reference Foundation LLC                           E-Merges.com Inc.
      (D.N.J. No. 1:24-cv-04324)                     (D.N.J. No. 1:24-cv-04434)
              No. 25-1573                                   No. 25-1581
Atlas Data Privacy Corporation et al. v.       Atlas Data Privacy Corporation et al. v.
              i360, LLC                                     Nuwber, Inc.
      (D.N.J. No. 1:24-cv-04345)                     (D.N.J. No. 1:24-cv-04609)
              No. 25-1574                                   No. 25-1582
Atlas Data Privacy Corporation et al. v.       Atlas Data Privacy Corporation et al. v.
 GoHunt, LLC, GoHunt Management                          RocketReach LLC
     Holdings, LLC, and GoHunt
    Management Holdings II, LLC                      (D.N.J. No. 1:24-cv-04664)
      (D.N.J. No. 1:24-cv-04380)
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             No. 25-1583                                   No. 25-1590
Atlas Data Privacy Corporation et al. v.      Atlas Data Privacy Corporation et al. v.
 Belles Camp Communications, Inc.              Compact Information Systems, LLC,
      (D.N.J. No. 1:24-cv-04949)               Accudata Integrated Marketing, Inc.,
                                               Alumnifinder, ASL Marketing, Inc.,
             No. 25-1584                        College Bound Selection Service,
Atlas Data Privacy Corporation et al. v.      Deepsync Labs, Homedata, and Student
         PropertyRadar, Inc.                             Research Group
      (D.N.J. No. 1:24-cv-05600)                    (D.N.J. No. 1:24-cv-08451)

             No. 25-1585                                   No. 25-1591

Atlas Data Privacy Corporation et al. v.      Atlas Data Privacy Corporation et al. v.
The Alesco Group, L.L.C., Alesco AI,                      DarkOwl, LLC
  LLC, Alesco Marketing Solutions,                  (D.N.J. No. 1:24-cv-10600)
L.L.C., Stat Resource Group Inc., and
   Response Solutions Group, LLC                           No. 25-1592
      (D.N.J. No. 1:24-cv-05656)              Atlas Data Privacy Corporation et al. v.
                                                         Spy Dialer, Inc.
             No. 25-1586                            (D.N.J. No. 1:24-cv-11023)
Atlas Data Privacy Corporation et al. v.
           Searchbug, Inc.                                 No. 25-1593
      (D.N.J. No. 1:24-cv-05658)              Atlas Data Privacy Corporation et al. v.
                                                 Lighthouse List Company, LLC
             No. 25-1587                            (D.N.J. No. 1:24-cv-11443)
Atlas Data Privacy Corporation et al. v.
            Amerilist, Inc.                                No. 25-1676
      (D.N.J. No. 1:24-cv-05775)              Atlas Data Privacy Corporation et al. v.
                                                         First Direct, Inc.
             No. 25-1588                            (D.N.J. No. 1:25-cv-01480)
Atlas Data Privacy Corporation et al. v.
         US Data Corporation                               No. 25-1677
      (D.N.J. No. 1:24-cv-07324)              Atlas Data Privacy Corporation et al. v.
                                                     Greenflight Venture Corp.
             No. 25-1589                            (D.N.J. No. 1:25-cv-01517)
Atlas Data Privacy Corporation et al. v.
Smarty, LLC, and SmartyStreets, LLC
      (D.N.J. No. 1:24-cv-08075)
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Present: BIBAS, FREEMAN, and CHUNG, Circuit Judges

      1.      Appellants’ Motion to Exceed the Word Limitation for Joint Reply Brief

                                                      Respectfully,
                                                      Clerk

                                       ORDER

      The foregoing motion is GRANTED.


                                                      By the Court,

                                                      s/ Stephanos Bibas
                                                      Circuit Judge

Dated: May 23, 2025
Tmm/cc: All Counsel of Record
